               Case 4:88-cr-50070-SN ECF No. 883, PageID.51 Filed 05/13/08 Page 1 of 1
2AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of Michigan

                    United States of America                         )
                               v.                                    )
                ZACHARY AARON JOHNSON                                )   Case No: 88-50070-10
                                                                     )   USM No: 10507-039
Date of Previous Judgment: 10/24/1989                                )   David Koelzer
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of u the defendant u the Director of the Bureau of Prisons u     ✔ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       u DENIED. u  ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of _________
                                                    324    months is reduced to _______________________________.
                                                                                              262

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:       40             Amended Offense Level:                                                      38
Criminal History Category:    II             Criminal History Category:                                                  II
Previous Guideline Range:  324 to 405 months Amended Guideline Range:                                             262         to 327 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
✔ The reduced sentence is within the amended guideline range.
u
u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
u Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated ________________
                                                                   10/24/1989   shall remain in effect.
IT IS SO ORDERED.

Order Date:         May 13, 2008                                         s/Paul D. Borman
                                                                                                  Judge’s signature


Effective Date:                                                          Paul D. Borman, U.S. District Judge
                     (if different from order date)                                             Printed name and title
